                 Case 23-11469-BLS           Doc 37      Filed 09/21/23       Page 1 of 1



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re:                                                          Chapter 11

 American Physician Partners, LLC, et al.,                       Case No. 23-11469 (BLS)

                  Debtors.                                       (Joint Administration Requested)


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Del. Bankr. L.R. 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Darren Azman to represent the Ad Hoc Committee of Healthcare Providers in these cases.

Dated: September 21, 2023                /s/ Maris J. Kandestin
                                         Maris J. Kandestin (I.D. No. 5294)
                                         McDERMOTT WILL & EMERY LLP
                                         1000 N. West Street, Suite 1400
                                         Wilmington, Delaware 19801
                                         Telephone:      (302) 485-3900
                                         Email:          mkandestin@mwe.com

               CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Del. Bankr. L.R. 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Courts of the Commonwealth of
Massachusetts and the State of New York, the United States District Courts for the District of
Massachusetts, and the Eastern and Southern Districts of New York, and the United States Courts of
Appeals for the Second and Third Circuits, and submit to the disciplinary jurisdiction of this Court for any
alleged misconduct that occurs in the preparation or course of this action. I also certify that I am generally
familiar with this Court’s Local Rules and with the Standing Order for District Court Fund effective August
31, 2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of the Court for the
District Court.

Dated: September 21, 2023                /s/ Darren Azman
                                         Darren Azman
                                         McDERMOTT WILL & EMERY LLP
                                         One Vanderbilt Avenue
                                         New York, New York 10017
                                         Telephone:     (212) 547-5615
                                         Email:         dazman@mwe.com

                                     ORDER GRANTING MOTION

          IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




   Dated: September 21st, 2023                           BRENDAN L. SHANNON
   Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE
